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                                               No. 22-15827
___________________________________________________________________________________________________________________


    In the United States Court of Appeals for the Ninth Circuit
 FELLOWSHIP OF CHRISTIAN ATHLETES, AN OKLAHOMA CORPORATION, ET AL.,
                       Plaintiffs-Appellants,
                                  v.
    SAN JOSÉ UNIFIED SCHOOL DISTRICT BOARD OF EDUCATION, ET AL.,
                       Defendants-Appellees.

             Appeal from the United States District Court
                for the Northern District of California
                  Honorable Haywood S. Gilliam, Jr.
                         (4:20-cv-02798-HSG)
__________________________________________________________________

        RESPONSE TO DEFENDANTS’ PETITION FOR
           REHEARING OR REHEARING EN BANC
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                             INTRODUCTION
  Defendants do not come close to satisfying the high standard for re-

hearing. Instead, they selectively ignore the facts, disregard or misstate

controlling law, and raise erroneous new arguments for the first time.

  Defendants start by simply ignoring the “stench of animus against

the[ir] students’ religious beliefs” that “pervades” their actions. Op.46-47

(Lee, J., concurring). Appellant Fellowship of Christian Athletes is a re-

ligious organization with student clubs that have long been officially rec-

ognized by the San José Unified School District—as FCA clubs are at

thousands of schools nationwide. But that changed in 2019, when District
employees targeted FCA’s beliefs in class, attacked FCA’s beliefs about

traditional marriage as “ bullshit” that “needed to be barred from a public

high school campus,” demeaned FCA students as “charlatans” who
“choose darkness over knowledge,” convened school leadership (the “Cli-

mate Committee”) to “take a united stance” against FCA, recognized a

new club (the Satanic Temple Club) formed to mock FCA’s beliefs, and
called for protests at FCA meetings. Opening Br.9-13, Dkt.23.

  Why? The “heart of the problem,” according to the District, is that FCA

selects its leadership “based on religious beliefs.” 9-ER-1778. While all

students (including LGBT students) are welcome to join and can apply to

lead FCA clubs, club leaders must sincerely affirm FCA’s religious beliefs

because they are uniquely responsible for expressing and embodying




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those beliefs. Defendants said this leadership rule violated District non-

discrimination policies and derecognized FCA clubs District-wide.

  No other club has ever faced remotely similar treatment. FCA was the

first and only District club to be derecognized for its leadership rules. And

while no students had ever actually applied for and been rejected from

leadership for failing to share FCA’s religious beliefs, secular honor-soci-

ety clubs regularly exclude students who do not meet club views on “good

moral character.” Answering Br.44, Dkt.59. The District has knowingly

approved clubs that limited leadership based on sex or race, and actively

runs a “multitude” of student programs that similarly “segregate stu-
dents.” Opening Br.38-39; Answering Br.40.

  Defendants’ rehearing petition never disavows their actions against

FCA. Indeed, Defendants testified that this conduct was consistent with
District policies, that they never did anything wrong, and that they would

do it again. Defendants’ petition instead repeats justiciability and merits

arguments rightly rejected by the panel and trots out new remedial ar-

guments that are as wrong as they are waived.

  Defendants’ justiciability arguments blinker reality. The District es-

sentially complains that the case is moot because the court can’t know

whether FCA clubs plan to apply for recognized status. But of course they

do—that’s why they sued. Defendants also ignore extensive evidence

showing that the clubs exist, have student leaders, planned to apply for




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official approval once the District’s exclusion was enjoined, and—fa-

tally—have already applied for recognition this year.

  On the merits, Defendants fare no better. They concoct a new holding

for Alpha Delta Chi-Delta Chapter v. Reed, 648 F.3d 790 (9th Cir. 2011),

and argue that the panel both ignored and contradicted it. But the panel

cited Alpha Delta repeatedly and correctly applied its selective-enforce-

ment analysis. And even if Defendants’ imagined holding that the Free

Exercise Clause forbids only animus were real, it would be both easily

satisfied by Defendants’ religious discrimination and plainly superseded

by recent Supreme Court precedent.
  Finally, Defendants complain that they are “forever foreclosed” from

resuming their discrimination against FCA because the panel granted

FCA’s requested preliminary injunction restoring FCA clubs’ official
recognition. But that argument is waived (Defendants never made it be-

low or on appeal), misplaced (preliminary injunctions do not last “for-

ever”), and wrong (courts often grant similar relief for similar violations).

  Defendants fret that the panel’s opinion restoring FCA’s status will

make it “impossible” for schools to enforce non-discrimination policies.

But thousands of school districts nationwide manage to both have non-

discrimination rules and accommodate FCA every day. The District itself

did so for over a decade. The problem is not the panel’s analysis but the

District’s animus. Rehearing is not warranted.




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                                 ARGUMENT
I. Defendants’ justiciability arguments do not identify a conflict
   with precedent and are wrong.
    Defendants’ justiciability arguments are premised on the claim that

the FCA club at Pioneer High School, Pioneer FCA, cannot show a need

for forward-looking relief. Pet.5. Indeed, throughout this litigation, De-

fendants have variously claimed that Pioneer FCA ceased to exist, Mot.

to Dismiss 16, ECF 127; no longer has student leaders, Answering Br.16;
and no longer has any intention of seeking official recognition, id. at 21. 1

But Defendants now grudgingly admit—in a footnote—that Pioneer FCA

not only exists and has student leaders but also successfully applied for
official approval. Pet.7 n.2. Defendants’ entire justiciability argument

therefore relies on a factual premise that Defendants concede is false. Doe

No. 1 v. Reed, 697 F.3d 1235, 1238 (9th Cir. 2012) (“The basic question in
determining mootness is whether there is a present controversy as to

which effective relief can be granted.” (citation omitted)). It thus fails.
    A. Defendants ignore dispositive facts and precedent.
    Defendants stumble right out of the gate because they completely ig-

nore facts and precedent—raised by FCA and relied on by the panel—

which confirm that the panel’s decision was correct.




1  “ECF” citations are to the district court’s docket; “Dkt.” citations are
to this Court’s docket.


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  First, Defendants have not shown that this case is moot. Defendants

complain only about factual developments that occurred after the com-

plaint was filed. E.g., Mot. to Dismiss 16 (“The fact that there used to be

a student group is not sufficient.”); Answering Br.21-22 (taking issue

with post-complaint factual developments); Pet.5-6 (same). Defendants

therefore do not challenge standing; they instead assert mootness. Clark

v. City of Lakewood, 259 F.3d 996, 1006 (9th Cir. 2001), as amended (Aug.

15, 2001); Reply Br.27, Dkt. 75. But Defendants provide no evidence to

carry their “heavy burden” of proving this case is moot. Wild Wilderness

v. Allen, 871 F.3d 719, 724 (9th Cir. 2017). Instead, they admit that Pio-
neer FCA’s student leaders applied for ASB approval in 2022-23, imme-

diately after the panel enjoined the District’s discriminatory policy. Pet.7

n.2; see also Exhibits 1-3 of Motion for Leave to Supplement (forthcoming
motion with 2022-23 application and approval). This case is not moot and

the panel was correct to reject Defendants’ justiciability challenge.

  Second, Defendants ignore key Ninth Circuit precedent—raised by

FCA, Reply Br.28, and relied on by the panel, Op.23-24, 27—that further

confirms standing and undermines their justiciability arguments.

  For example, Defendants ignore precedent confirming that justiciabil-

ity does not require exercises in futility. And here, Defendants admitted

that reapplication for ASB approval by Pioneer FCA would be futile.

Op.27; Answering Br.8 (admitting the “District’s nondiscrimination pol-

icy, mak[es] FCA clubs ineligible for ASB recognition”). This, together


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with the undisputed evidence of past denied ASB applications by Pioneer

FCA, Op.16, is sufficient to show standing for forward-looking relief,

Op.27; Namisnak v. Uber Techs., 971 F.3d 1088, 1092-93 (9th Cir. 2020)

(plaintiffs “need not engage” in “futile gesture … to show injury in fact”).

  Similarly, Defendants ignore precedent holding that “plaintiffs ‘may

demonstrate that an injury is likely to recur by showing that the defend-

ant had ... a written policy, and that the injury ‘stems from’ that policy.’”

Op.24; Truth v. Kent Sch. Dist., 542 F.3d 634, 642 (9th Cir. 2008), over-

ruled on other grounds by Los Angeles County v. Humphries, 562 U.S. 29

(2010) (quoting Fortyune v. Am. Multi-Cinema, 364 F.3d 1075, 1081 (9th
Cir. 2004)). Plaintiffs’ injury is undisputedly the result of Defendants’

written non-discrimination policy, Op.21-22, thus creating “an implicit

likelihood of its repetition in the immediate future.” Truth, 542 F.3d at
642.

  Defendants thus ignore two lines of precedent elemental to the panel’s

standing analysis. Defendants cannot bluff their way into en banc rehear-

ing by selectively recasting the panel’s actual holding.

  Finally, while Defendants complain about Pioneer FCA’s associational

standing, they say nothing of FCA National’s standing, which the panel

separately found sufficient for forward-looking relief. Op.24-25; see Me-

cinas v. Hobbs, 30 F.4th 890, 897 (9th Cir. 2022) (only one plaintiff needs

standing for each form of relief sought). Defendants’ entire justiciability




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argument, then, would have no actual impact on the justiciability of this

case—a point Defendants do not dispute.
  B. The panel’s decision follows precedent.
  The two aspects of the panel’s justiciability analysis that Defendants

do manage to address come through unscathed. Neither was erroneous,

warrants rehearing, or would change that “the standing inquiry tilts dra-

matically toward a finding of standing” in cases that “implicate[] First

Amendment rights.” Italian Colors Rest. v. Becerra, 878 F.3d 1165, 1174

(9th Cir. 2018) (cleaned up).

  First, Defendants claim the panel’s decision failed to follow Lujan and

will allow parties to “circumvent Article III by relying on speculative

hearsay.” Pet.7. Far from it. The panel cited Lujan and correctly articu-
lated its rule: a plaintiff seeking forward-looking relief must show “he has

suffered or is threatened with a concrete and particularized legal harm,

coupled with a sufficient likelihood that he will again be wronged in a

similar way.” Op.24 (quoting Bates v. United Parcel Serv., 511 F.3d 974,

985 (9th Cir. 2007) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-

61 (1992)). And everyone agrees this is the appropriate test. Pet.5; Op.24;

Answering Br.21 (Plaintiffs must show “sufficient likelihood that [they]

will again be wronged in a similar way”); Reply Br.28.

  Defendants then try to concoct a conflict with a line of aesthetic-injury

cases, which rejected standing to bring claims based on “a vague desire

to return to the area ‘without any description of concrete plans, or indeed


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any specification of when the some day will be.’” Wilderness Soc’y v. Rey,

622 F.3d 1251, 1256 (9th Cir. 2010). But, as the panel explained, this line

of cases is not only easily distinguished but actually supports Pioneer

FCA’s standing. Pioneer FCA repeatedly applied for and was denied ASB

approval and had a concrete plan to apply again once the District’s policy

was enjoined—which was the whole point of this lawsuit. Op.21, 28 n.4;

Rey, 622 F.3d at 1256 (“repeated[]” past visits and “concrete plans to do

so again” are “sufficient”).

   Defendants’ complaints about the “speculative” quality of FCA’s evi-

dence likewise fail, because they are simply wrong. See Reply Br.23-27
(reciting record evidence). And even if they had merit, factual quibbles

are not the stuff of en banc review. Kipp v. Davis, 986 F.3d 1281, 1285

(9th Cir. 2021) (Paez, J., concurring) (rehearing en banc inappropriate to
resolve “the application of settled legal standards to a set of facts”).

   Second, Defendants complain that the panel “waived” Article III re-

quirements. Pet.6. Hardly. The panel never suggested that requirements

of Article III were waived or even relaxed. Instead, the panel spent seven

pages analyzing standing. Op.23-29. Defendants take issue with the

panel pointing out their oft-repeated complaint about the lack of one type

of evidence (student testimony). Op.29. But this was not a suggestion

(much less a holding) that Defendants waived anything. Rather, the

panel explained why there was no student testimony in the record—




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namely, Defendants’ stunning intimidation, harassment, and discrimi-

nation against the minor students under their near-daily legal control—

and why this type of evidence wasn’t necessary to show standing. Op.29.

The panel found standing based on its assessment of the evidence in the

record—not based on waiver. Op.27. This Court does not rehear holdings

a panel did not make.
   C. Defendants’ irreparable harm argument fails.
   As Defendants admit, their irreparable harm arguments rise and fall

with their justiciability arguments, Pet.7, and thus fail for the reasons

above.
II. Defendants’ merits argument does not identify a conflict with
    precedent and is wrong.
   The panel correctly articulated and applied the rule that, under the

Free Exercise Clause, a law will trigger strict scrutiny if it is “selectively

enforced against religious entities but not comparable secular entities.”

Op.33 (citing Tandon v. Newsom, 141 S.Ct. 1294, 1296 (2021)); accord

Fulton v. City of Philadelphia, 141 S.Ct. 1868, 1876 (2021). The panel

then found that the District had “selectively enforced—and continues to

selectively enforce—[its non-discrimination policies] against FCA while

exempting secular ASB student groups.” Op.35. Specifically, FCA was

the first and only group against which the District had ever enforced its

policies, and it did so while allowing clubs like Senior Women, Big Sis-

ters/Little Sisters, the South Asian Club, and Interact to limit not just



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leadership but also membership based on gender identity, sex, race, and

secular standards of “good moral character.” Op.20, 40 n.8.

  The District complains that this conclusion contradicts Alpha Delta

Chi-Delta Chapter v. Reed, a case which it says the panel failed to “even

mention[].”Pet.9. Both assertions are wrong.

  First, the panel cited Alpha Delta four times, including right at the

start of its analysis, and correctly articulated Alpha Delta as requiring

strict scrutiny because Defendants “selectively enforce[d] their policies

against FCA only” while “secular student groups were granted exemp-

tions.” Op.35 (similarly citing Truth).
  Second, Defendants’ imagined conflict is based on a misreading of Al-

pha Delta. They argue that the “holding” of Alpha Delta is that approval

of a facially noncompliant club application “does not suffice to establish
unconstitutional selective enforcement because the approval may have

been unintentional or inadvertent.” Pet.2. Not so. Alpha Delta was an

appeal from summary judgment for the defendant school. The relevant

issue was not the quantum of proof necessary for injunctive relief but

whether plaintiffs had raised a triable issue of fact sufficient to remand.

The relevant holding was that they had. Moreover, the evidence there

only showed that the school “may” have granted exemptions to secular

groups, thus raising a triable question of whether the plaintiffs were, “in

fact,” “treated differently.” Alpha Delta, 648 F.3d at 804.




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  Here, the panel correctly found there was no such uncertainty: FCA

had undisputedly been treated differently. The panel started by focusing

on a comparison to the Senior Women club. For FCA, the “mere existence”

of its religious leadership standards was enough for the District to imme-

diately derecognize FCA and fight for years to keep it excluded, without

ever seeking any evidence that FCA had ever denied a student a leader-

ship position based on those standards. Op.38-39. By sharp contrast, the

panel found, the Senior Women’s exclusionary membership standards—

hand-written twice into their application to bar anyone who does not

identify as female—was met with a literal stamp of approval by the Dis-
trict. Id. And, the panel explained, the District’s insistence that FCA

must prove Senior Women actually excluded students is just another

form of selective enforcement, since the District didn’t apply an actual-
exclusion test for FCA’s abrupt (and continued) derecognition. Id.

  Moreover, the panel found that other exemptions made the District’s

discrimination even clearer. Unlike FCA, numerous secular clubs are al-

lowed to restrict membership and leadership based on their definition of

“good moral character.” Op.40 n.8. And the same Pioneer official who ex-

ercised the “final say” to exclude FCA admitted that the Big Sisters/Little

Sisters club was approved not as an oversight but precisely “because it

was … a mentorship for [Pioneer] students who are females to be men-

tored by … senior female students.” 5-ER-852-53 (emphasis added);

Op.15, 38 n.7. And the District admitted that clubs may exclude students


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on the basis of race, sex, and other criteria in the purpose and benefits of

a group. Oral Arg. 31:24 (agreeing “white nationalist group” permissible);

8-ER-1414; 9-ER-1764; SER.703; Op.38-39 n.7.

    The District also complains that the panel should have ignored ap-

provals under the version of the non-discrimination policy in force at the

time of FCA’s initial derecognition, since it “shed[s] no light on the cur-

rent practice.” Pet.9. But the District conceded at oral argument that the

current policy is “not a change” from the earlier one, but merely a “for-

malization of a long-standing practice.” Op.41. Nor would this explain

away the current good-moral-character exemption, 7-ER-1215, Opening
Br.14-15; its exception allowing clubs to have exclusionary purposes, 8-

ER-1414; or the District’s approval of the South Asian club’s race-based

preference, 2-ER-109. See also 9-ER-1632, 1638-41, 1653; 9-ER-1816,
1654 (admitting District provides a “multitude” of student programs like

the Latino Male Mentor Group and Girls Circle that exclude students

based on race, age, and sex).

    Thus, the panel’s holding is a straightforward application of Alpha

Delta in a case where the facts remove any doubt about Defendants’ dis-

crimination. 2


2  The District faults the panel for failing to defer to the district court’s
view of the facts, but that claim is misplaced here. First, it is irrelevant
to the asserted (but nonexistent) conflict with Alpha Delta. Second, the



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   And, to the extent Defendants argue that Alpha Delta requires evi-

dence of not just discriminatory treatment but also discriminatory intent,

they fare no better. See, e.g., Pet.9 (arguing “inadvertent” discrimination

permissible); Pet.11-12 (arguing proof is required that same “decision-

maker” intentionally discriminated). Even if they were right on the law,

that does not help their bid for rehearing given the “stench of animus”

pervading their mistreatment of FCA. Op.46 (Lee, J., concurring). Far

from being a case about “stray remarks by a single teacher,” Pet.12, this

is a case of coordinated, explicit, and ongoing religious discrimination by

government officials against the religious students entrusted to their
care. Moreover, the District has not disavowed its employees’ blatant

misconduct—never correcting it (even when an employee vowed to do it

all over again), never even investigating it (despite claiming otherwise to
state officials), and still defending it in substance today. Opening Br.18-

19; Masterpiece Cakeshop v. Colo. C.R. Comm’n, 138 S.Ct. 1719, 1731-32

(2018) (“factors relevant” to neutrality “include” the “historical back-

ground of the decision,” “specific series of events leading to” it, and refusal

to disavow); Church of the Lukumi Babalu Aye v. City of Hialeah, 508




panel confirmed it was not “find[ing] facts” but just refusing to “shut our
eyes to ‘uncontested facts.’” Op.39. And third, the panel had a duty to
keep its eyes open to scrutinize the entire record and “review constitu-
tional facts de novo.” Thunder Studios v. Kazal, 13 F.4th 736, 742 (9th
Cir. 2021).


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U.S. 520, 534, 541 (1993) (courts must “survey meticulously the circum-

stances” of religious discrimination). 3

    Defendants are also wrong on the law: “the Free Exercise Clause is not

confined to actions based on animus.” Shrum v. City of Coweta, 449 F.3d

1132, 1145 (10th Cir. 2006) (McConnell, J.). Even “incidental[]” burdens

on religious exercise must be generally applicable. Fulton, 141 S.Ct. at

1876. And the Supreme Court has made “clear” that “under the Free Ex-
ercise Clause, whenever [regulations] treat any comparable secular ac-

tivity more favorably than religious exercise,” they are not generally ap-

plicable and must pass strict scrutiny. Tandon, 141 S.Ct. at 1296; Ken-
nedy v. Bremerton Sch. Dist., 142 S.Ct. 2407, 2423 (2022) (religious bur-

dens must be “applied in an evenhanded, across-the-board way”). While

ill intent can support that result, it is not necessary to it. Kennedy, 142




3  Defendants also attempt to seal off their FCA derecognition decision
from the extensive evidence of anti-FCA hostility “pervad[ing] the Pio-
neer High School campus,” Op.47, insisting the derecognition “decision-
makers” were entirely at the District level and not at Pioneer. Pet.11-12.
That is irrelevant, as explained above, and incorrect. The District’s pri-
mary liaison regarding FCA’s derecognition testified repeatedly that the
ultimate decision was “handled at the individual school level” and not by
the District—albeit with the District’s full knowledge and support. 8-ER-
1320-21, 1347-48, 1386. And the principal likewise testified that he had
the “final say” over FCA’s derecognition, 5-ER-782, authority he exer-
cised immediately after his staff told him to “attack[]” and “bar[]” FCA’s
“bullshit” beliefs and his “Climate Committee” leadership team called for
a “united stance” against FCA. 10-ER-1897-98, 10-ER-1924-27.


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S.Ct. at 2422 (distinguishing intent-based claims from unequal treat-

ment); Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S.Ct. 63, 66

(2020) (same); see also Reed v. Town of Gilbert, 576 U.S. 155, 166 (2015)

(speech restrictions are “subject to strict scrutiny regardless of benign

motive” or “lack of animus”; plaintiffs “need adduce no evidence of im-

proper censorial motive”); accord Prof. McConnell Br. 12-15 (“no need to

read” Alpha Delta to require animus, but if so read, “no longer good law”);

Cardinal Newman Br. 9-12 (“obsolete”).

                                   *   *    *

  Unable to identify a conflict with circuit law, the District resorts to
threatening that the panel’s ruling reinstating FCA clubs on District

campuses will somehow “make it impossible for school districts to admin-

ister non-discrimination policies.” Pet.2. Yet the District itself managed
that feat in the decade-plus that FCA clubs were officially recognized in

District schools before 2019. So too have thousands of schools nationwide,

as have colleges with far more student clubs than the District. Hsu v.

Roslyn Union Free Sch. Dist., 85 F.3d 839 (2d Cir. 1996); see also U.S.

Census Bureau, Top 10 Largest School Districts (May 21, 2019),

https://perma.cc/PB9C-XZAC (identifying largest school district as New

York City, which is within the Second Circuit); InterVarsity v. Univ. of

Iowa, 5 F.4th 855 (8th Cir. 2021); InterVarsity v. Wayne State Univ., 534

F. Supp. 3d 785 (E.D. Mich. 2021).




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III. Defendants’ new remedial argument is waived and wrong.
  Defendants’ argument challenging the injunctive relief FCA received

is both waived and wrong.

  The panel granted the relief FCA has consistently sought throughout

this litigation. See Compl., ECF 1 at 47 (requesting “a preliminary in-

junction … prohibiting Defendants from denying Plaintiffs recognition”);

Mot. for Prelim. Inj., ECF 102 at 2 (seeking injunction to “restore recog-
nition” to FCA clubs); Mot. for Inj. Pending Appeal Reply, Dkt. 40-1 at

10-11 (requesting “an injunction restoring Pioneer FCA’s ASB-approved

status”). Defendants did not take issue with this requested relief before
the district court or the panel. Only now, in a rehearing petition, do De-

fendants fabricate this new theory. But this Court will “not consider on

rehearing new issues previously not raised, briefed or argued.” Fields v.
Palmdale Sch. Dist., 447 F.3d 1187, 1190 (9th Cir. 2006) (per curiam);

SNJ Ltd. v. Comm’r of Internal Revenue, 28 F.4th 936, 939 n.1 (9th Cir.

2022). Defendants have accordingly waived the argument.

  Even if it wasn’t waived, Defendants’ argument would still fail. De-

fendants assert rehearing is required so that the District is not “forever

enjoin[ed]” from prohibiting discrimination by any student club. Pet.14.

But that is not at issue. This appeal regards FCA’s preliminary injunc-

tion motion. By its very nature, the requested relief is temporary. And

even permanent injunctions remain subject to modification should justice




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require. See Brown v. Plata, 563 U.S. 493, 542 (2011). Defendants’ argu-

ment is baseless.

  Moreover, Defendants’ novel rule runs directly contrary to the law of

the Supreme Court, this Circuit, and several other circuits. The Supreme

Court and this Circuit have repeatedly found that a proper remedy under

the Free Exercise Clause for a scheme that discriminates, or allows dis-

crimination, against religion is to raise religious groups up to the level of
exempt secular comparators. Tandon, 141 S.Ct. at 1296 (granting pre-

liminary injunction requiring government to treat religious institutions

as favorably as secular ones); Diocese of Brooklyn, 141 S.Ct. at 65 (same);
Calvary Chapel Dayton Valley v. Sisolak, 982 F.3d 1228, 1233 (9th Cir.

2020) (same). That approach applies to non-discrimination policies like

those here. Fulton, 141 S.Ct. at 1882. Defendants’ rigid rule would also
conflict with precedent from multiple other circuits, which have remedied

selective enforcement with injunctions like the one here. Intervarsity, 5

F.4th at 859; Christian Legal Soc’y v. Walker, 453 F.3d 853, 866-67 (7th

Cir. 2006); Tenafly Eruv Ass’n v. Borough of Tenafly, 309 F.3d 144, 152

(3d Cir. 2002).

  Defendants suggest Hoye v. City of Oakland, 653 F.3d 835 (9th Cir.
2011), supports their position. Pet.13. But Hoye is inapposite. First, Hoye

expressly declined to direct the district court to order any particular form

of injunctive relief. 653 F.3d at 856. Second, while Defendants argue the




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proper remedy here is to require the district to uniformly enforce its pol-

icy, Hoye suggested the opposite: that selective enforcement could be ad-

dressed by “enjoining the City from continuing to enforce the Ordinance.”

Id. at 857 (emphasis added). Third, Hoye is a unique case that presented

a “remedial puzzle” because Oakland refused to acknowledge the gap be-

tween its discriminatory enforcement and its facially valid policy. Id. at

856 (“Oakland has insisted that there is no distinction between the actual

Ordinance and what it enforces.”). That is not this case, where the Dis-

trict’s discrimination is plain and where a targeted injunction provides

the relief to which FCA is entitled.
  Defendants’ novel remedial rule would create perverse incentives. If

the only available remedy for selective enforcement is not to treat plain-

tiffs better but to treat everyone worse, plaintiffs have little reason to
challenge such unconstitutional conduct. By contrast, governments could

choose to begin equal enforcement only after a court order advised them

to do a better job enforcing the challenged law.

  Finally, rehearing would not change the remedy here. FCA’s alterna-

tive arguments that do not rely on selective enforcement—including the

Free Exercise Clause’s neutrality requirements, the Religion Clauses’

protection for the autonomy of religious groups to have religious leader-

ship, and the Equal Access Act—would require at least the same result:

injunctive relief restoring FCA clubs’ recognized status during this liti-

gation. And, again, Defendants never argued otherwise.


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                              CONCLUSION
  The petition should be denied.


                                    Respectfully submitted,

                                       /s/Daniel H. Blomberg

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                      CERTIFICATE OF SERVICE

  I certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Ninth Circuit by using

the appellate CM/ECF system on November 14, 2022. All participants in

the case are registered CM/ECF users, and service will be accomplished by

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                                        /s/ Daniel H. Blomberg
                                        Daniel H. Blomberg




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